Case 15-00078   Doc 192-8   Filed 03/18/19   Page 1 of 18




                EXHIBIT D
Case 15-00078   Doc 192-8   Filed 03/18/19   Page 2 of 18
Case 15-00078   Doc 192-8   Filed 03/18/19   Page 3 of 18
Case 15-00078   Doc 192-8   Filed 03/18/19   Page 4 of 18
Case 15-00078   Doc 192-8   Filed 03/18/19   Page 5 of 18
Case 15-00078   Doc 192-8   Filed 03/18/19   Page 6 of 18
Case 15-00078   Doc 192-8   Filed 03/18/19   Page 7 of 18
Case 15-00078   Doc 192-8   Filed 03/18/19   Page 8 of 18
Case 15-00078   Doc 192-8   Filed 03/18/19   Page 9 of 18
Case 15-00078   Doc 192-8   Filed 03/18/19   Page 10 of 18
Case 15-00078   Doc 192-8   Filed 03/18/19   Page 11 of 18
Case 15-00078   Doc 192-8   Filed 03/18/19   Page 12 of 18
Case 15-00078   Doc 192-8   Filed 03/18/19   Page 13 of 18
Case 15-00078   Doc 192-8   Filed 03/18/19   Page 14 of 18
Case 15-00078   Doc 192-8   Filed 03/18/19   Page 15 of 18
Case 15-00078   Doc 192-8   Filed 03/18/19   Page 16 of 18
Case 15-00078   Doc 192-8   Filed 03/18/19   Page 17 of 18
Case 15-00078   Doc 192-8   Filed 03/18/19   Page 18 of 18
